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                                        CLERK’S MINUTE SHEET
                            IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                 Before the Honorable Steven C. Yarbrough

                                             Initial Appearance

Case Number:         19-MJ-1159                       UNITED STATES vs. DOUGLAS

Hearing Date:        5/7/2019                         Time In and Out:        9:52 am – 9:55 am

Clerk:               K. Dapson                        Courtroom:              Rio Grande
                                                                              Alonzp Padilla for this
Defendant:           Christopher Douglas              Defendant’s Counsel:
                                                                              hearing only
AUSA                 Kimberly Brawley                 Pretrial/Probation:                A. Galaz

Interpreter:
Initial Appearance
☐       Defendant sworn

☒       Defendant received a copy of charging document

☒       Court advises defendant(s) of possible penalties and all constitutional rights

☒       Defendant wants Court appointed counsel

☒       Government moves to detain                     ☐   Government does not recommend detention

☒       Set for Preliminary/Detention Hearing         on May 8, 2019               @ 9:30 am
Preliminary/Show Cause/Identity
☐       Defendant waives Preliminary hearing

☐       Court finds probable cause                     ☐   Court does not find probable cause
Custody Status
☐       Defendant waives detention hearing

☒       Defendant detained pending hearing

☐       Conditions
Other
☒       Matter referred to District Judge for final revocation hearing

☐
